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                                                                                          EFILED IN OFFICE
                                                                                        CLERK OF STATE COURT
                                                                                      FORSYTH COUNTY, GEORGIA
                                                                                        21SC-1611-A
                       IN THE STATE COURT OF FORSYTH COUNTY                       Judge Leslie Abernathy-Maddo)
                                  STATE OF GEORGIA                                    OCT 28, 2021 05:08 PM


 LACINDA RIDDLE                                                                                  For:Jr8ZZaLlitrit
       Plaintiff,                                           CIVIL ACTION FILE NO.

  V.

 WALMART,INC. and
 JOHN DOE                                                 JURY TRIAL DEMANDED

       Defendants.


                         COMPLAINT FOR PERSONAL INJURIES


        COMES NOWS LACINDA RIDDLE, Plaintiff in the above styled action (hereinafter

"Plaintiff'), and files this Complaint for Personal Injuries against the above-named Defendants,

(hereinafter "Defendants"), showing the Court the following:

                                                I.


       Defendant WALMART INC. d/b/a Walmart("Walmart") is a foreign Limited Partnership

doing business in this state and county and is subject to the jurisdiction and venue of this Court.

Walmart may be served through its registered agent, THE CORPORATION COMPANY (FL) at

106 Colony Park Drive Ste. 800-B, Cumming, Georgia, 30040-2794.


                                                2.


       Defendant John Doe is an individual whose identity is not presently known to Plaintiff but

is believed to be a resident ofthe State of Georgia. This Defendant will be substituted for a named

Defendant once his or her identity is discovered. This Defendant is subject to the jurisdiction and

venue of this Court.
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                                                3.


        On or about February 24, 2021, Plaintiff was a business invitee shopping at Defendant

Walmart's Supercenter Store Number 3 located at 30908 Highway 441 S, Commerce, Georgia

30529 (hereinafter "the Premises").

                                                4.


        At said place and time, Defendants Walmart and its employee John Doe were responsible

for keeping the Premises safe and in good repair for invitees and licensees.


                                                5.


        At said place and time, Plaintifftripped and fell over inconspicuous, unattended boxes that

Defendant's negligently left on the floor at the Premises, which caused Plaintiff to incur severe

injuries.


                                                6.


        These inconspicuous, unattended boxes created a hazardous condition on the Premises.


                                                7.


        At said place and time, Defendants owed a duty to Plaintiff to exercise ordinary care to

keep the Premises safe, to not injure Plaintiff by maintaining a dangerous condition, and to warn

Plaintiff of any hazardous conditions.


                                                8.


       Defendants breached this duty ofcare by, among other things, failing to keep the Premises

safe for Plaintiff, failing to warn the Plaintiff of the dangerous condition, and failing to use
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reasonable care when leaving the subject boxes unattended, with no warnings,and inconspicuously

on the floor at the Premises.


                                                9.


       No warnings or hazardous condition warnings were placed in a conspicuous location to

warm Plaintiff of the hazard on the premises or the duties being performed on the premises.


                                                10.


       Defendants had actual or constructive knowledge of the hazardous condition caused by

leaving the subject boxes unattended, with no warnings, inconspicuously on the floor at the

Premises.


                                                11.


       Said hazardous condition was solely and proximately caused by the negligence of the

Defendants who breached their duty of care to Plaintiff by, among other things, failing to maintain

the Premises, creating and maintaining a dangerous condition, failing to protect the Plaintiff from

hidden perils and failing to warn Plaintiff of the hazardous condition.


                                                12.

       At all times mentioned herein, Defendant Walmart either independently or jointly owned,

operated, controlled, managed and maintained the Premises.

                                                13.

       On February 24, 2021, Defendant John Doe was an employee and/or agent acting within

the course and scope of his or her employment at all times for Defendant Walmart. All Defendants
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are jointly and severally liable and Defendant Walmart is liable for the actions of Defendant John

Doe under theories of Respondeat Superior, vicarious liability, and agency principals.

                                                 14.

        Because Defendant Walmart had knowledge of, or in the exercise ofreasonable care should

have had knowledge of, the negligence discussed herein and the dangerous condition(s) created by

their actions, Defendant Walmart is liable for the negligent supervision, hiring, training, and

retention oftheir management, agents and employees, to include but not limited to Defendant John

Doe.

                                                 15.

        Defendant Walmart was negligent in failing to promulgate and enforce company policies,

procedures and rules for the protection ofthe public, including but not limited to Plaintiff.

                                                 16.

        Defendants' negligence in violation of Georgia laws constituted negligence per se and

negligence as a matter of law.

                                                 17.


        As a direct and proximate result of Defendants' negligence, Plaintiff sustained personal

injuries and incurred extensive charges for medical care in excess of $38,109.75 to date, and will

incur additional medical and other expenses into the future.


                                                 18.


        As a further result of said negligence, Plaintiff has suffered great physical and mental pain

and suffering, inconvenience, inability to enjoy a normal life, a diminished capacity to work and

labor, and Plaintiff is entitled to judgment against Defendants for a sum to be determined by the

jury to constitute full and complete compensation for all of said injuries, past, present, and future.
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                                                   19.

          The injuries suffered by Plaintiff as described herein are continuing and permanent in

nature.

                                                   20.

          The injuries sustained by Plaintiff are the direct and proximate result of the combined

negligence on the part of Defendants. But for said negligence, Plaintiff would not have suffered

the injuries and losses discussed herein.


                                                   21.

          Defendants were negligent for all other acts of negligence as may be shown at trial.

                                                  22.

          At all times mentioned herein, Plaintiff had no knowledge of the hazardous condition on

the Premises and it was not discoverable by her exercise of reasonable care.

                                                  23.

          At all times mentioned herein, Plaintiff acted with reasonable care under the conditions

and circumstances then existing and exercised reasonable care for her own safety.

                                                  24.

          As a further result of said negligence, Plaintiff has suffered great physical and mental pain

and suffering, inconvenience, inability to enjoy a normal life, a diminished capacity to work and

labor, and Plaintiff is entitled to judgment against Defendants for a sum to be determined by the

jury to constitute full and complete compensation for all of said injuries, past, present, and future.

                                                  25.

          But for the negligence of Defendants, Plaintiff would not have suffered serious injury,

physical pain, mental and psychological suffering, inconvenience and other injuries as proven at
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the trial of this matter, all of which were directly and proximately caused by Defendant's

negligence.

                                                   26.

         Plaintiff is entitled to recover for her injuries and pain and suffering sustained, and all

other elements of damages allowed under Georgia law, including but not limited to all

compensatory, general, special, incidental, consequential, punitive, and/or other damages

permitted. Plaintiffstates her intention to seek all compensatory,special, economic,consequential,

general, punitive and all other damages permissible under Georgia Law, including, but not limited

to:

      1) Personal injuries;

      2) Past, present and future pain and suffering;

      3) Disability;

      4) Disfigurement;

      5) Mental anguish;

      6) Loss of the capacity for the enjoyment of life;

      7) Incidental expenses;

      8) Past, present and future medical expenses;

      9) Lost wages;

      10)Diminished capacity to labor;

      1 1)Permanent injuries; and

      12)Consequential damages to be proven at trial.
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                                                 27.

       Because Defendants' actions evidence a species of bad faith, were and are stubbornly

litigious, and have caused Plaintiff undue expense, Plaintiff is entitled to recover her necessary

expenses of litigation, including an award of reasonable attorneys' fees and expenses required by

this action. (0.C.G.A. §§ 13-6-11, 9-11-68 and 9-15-14). Furthermore, Plaintiff is entitled to all

expenses oflitigation and attorneys' fees pursuant to all other Georgia statutory and common laws.

       WHEREFORE,Plaintiff prays that she will have a trial on all issues and judgment against

Defendants as follows:

a.     that service of process issue upon the Defendants as provided by law;

b.      that Plaintiff has judgment against Defendants in an amount the jury finds will adequately

compensate Plaintiff for his injuries and damages, general, compensatory, consequential and

special, which have been sustained;

c.     that all costs be taxed against the Defendants;

d.     that this Court grant such other and further relief as it deems just and proper;

e.     Plaintiff hereby demands a jury trial for all issues so triable.

       Respectfully submitted this 28th day of October, 2021.

                                              H. GROVES LAW,LLC

                                              /s/J. Harmon Groves
                                              J. HARMON GROVES,ESQ.
                                              Georgia Bar No. 631559
                                              JOHN G. WINKENWERDER,JR.
                                              Georgia Bar No. 324946

                                              Counselfor Plaintff

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                  IN THE STATE COURT OF FORSYTH COUNTY
                             STATE OF GEORGIA

LACINDA RIDDLE,                                            Civil Action File No.
                                                           21SC-1611-A
             Plaintiff,
v.

WALMART, INC., and
JOHN DOE

             Defendants.
                             /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WALMART, INC. and makes this Answer to

Plaintiff's Complaint as follows:

                                    FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                 SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to



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herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.

                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                 SIXTH DEFENSE

      Plaintiff's claims for attorney’s fees should be dismissed as a matter of law.

                               SEVENTH DEFENSE

      Plaintiffs claim for punitive damages is barred as a matter of law.

                                EIGHTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the

United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes allow for the deprivation of property without due process

of law. (U.S. Const. amends V and XIV; Ga. Const. Art. 1, Section 1, Para. 1).



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Specifically, said statutes fail to define or provide advance notice of the prohibited

behavior with reasonable clarity, fail to specify the upper limit of damages to be

imposed, fail to set standards or criteria for the jury to apply in determining whether

to impose punitive damages and, if so, the amount thereof. These defects in the

statutes, inter alia, leave to the unbridled discretion of a random jury whether to

impose such damages and the amount thereof, thereby authorizing an award of

aggravated, exemplary, or punitive damages which is unpredictable, arbitrary,

capricious, and disproportionate.

                                 NINTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the

United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes deny this Defendant equal protection of the laws by

providing fewer protections for civil litigants than the criminal laws provide to

persons accused of violation of criminal statutes which provide for the imposition

of monetary fines. (U.S. Const. Amend. XIV, Ga. Const. Art. 1, Section 1, Para. 2).

Specifically, said statutes inter alia, fail to define or provide advance notice of the

prohibited behavior with reasonably clarity whereas criminal defendants are



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entitled to such notice; said statutes fail to specify the upper limit of damages to be

imposed whereas criminal statutes imposing similar penalties must be limited; said

statutes allow imposition of such damages upon the "preponderance of the

evidence" rather than the "beyond a reasonable doubt" standard applied in similar

criminal cases; and said statutes contemplate the imposition of such damages

against civil litigants who have been compelled to give evidence against themselves

under the Georgia Civil Practice Act whereas criminal defendants in similar cases

cannot be so compelled.

                                 TENTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the

United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes allow for the imposition of an excessive fine. (U.S. Const.

Amend. VIII and XIV; Ga. Const. Art. 1, Section 1, Para. 1.)

                               ELEVENTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the



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United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes do not provide fair notice of (1) the severity of the

potential punishment in relationship to the alleged degree of reprehensible conduct

of Defendant, (2) the ratio of punitive damages award to the actual harm inflicted

upon the Plaintiff, and (3) a comparison between the award and the civil or criminal

penalties that could be imposed for comparable alleged misconduct. See BMW of

North America, Inc. v. Gore, 116 U.S. 415, 133 L.Ed.2d 333, 115 S.Ct. 932 (1966);

BMW of North America, Inc. v. Gore, 116 S.Ct. 1589 (1996); and Pacific Mutual Life

Ins. Co. v. Haslip, 499 U.S. 1, 113 L.Ed.2d 1, 111 S.Ct. 1032 (1991).

                               TWELFTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                          1.

      Defendant denies the allegations contained in paragraph 1 of the Plaintiff's

Complaint. Jurisdiction and venue are now proper in the United States District

Court, Northern District of Georgia, Gainesville Division.

                                          2.

      Defendant denies the allegations contained in paragraph 2 of Plaintiff's

Complaint.



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                                        3.

      Defendant lacks sufficient information to either admit or deny the allegations

contained in paragraph 3 of the Plaintiff's Complaint.

                                        4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint, as stated. The applicable statute and case law speak for themselves.

                                        5.

      Defendant denies the allegations contained in paragraph 5 of Plaintiff's

Complaint.

                                        6.

      Defendant denies the allegations contained in paragraph 6 of Plaintiff's

Complaint.

                                        7.

      Defendant denies the allegations contained in paragraph 7 of Plaintiff's

Complaint, as stated.

                                        8.

      Defendant denies the allegations contained in paragraph 8 of Plaintiff's

Complaint.




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                                        9.

      Defendant denies the allegations contained in paragraph 9 of Plaintiff's

Complaint.

                                       10.

      Defendant denies the allegations contained in paragraph 10 of Plaintiff's

Complaint.

                                       11.

      Defendant denies the allegations contained in paragraph 11 of Plaintiff's

Complaint.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of Plaintiff's

Complaint, as stated. Defendant operated the subject store.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of Plaintiff's

Complaint.

                                       14.

      Defendant denies the allegations contained in paragraph 14 of Plaintiff's

Complaint.

                                       15.

      Defendant denies the allegations contained in paragraph 15 of Plaintiff's



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Complaint.

                                     16.

     Defendant denies the allegations contained in paragraph 16 of Plaintiff's

Complaint.

                                     17.

     Defendant denies the allegations contained in paragraph 17 of Plaintiff's

Complaint.

                                     18.

     Defendant denies the allegations contained in paragraph 18 of Plaintiff's

Complaint.

                                     19.

     Defendant denies the allegations contained in paragraph 19 of Plaintiff's

Complaint.

                                     20.

     Defendant denies the allegations contained in paragraph 20 of Plaintiff's

Complaint.

                                     21.

     Defendant denies the allegations contained in paragraph 21 of Plaintiff's

Complaint.




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                                          22.

      Defendant denies the allegations contained in paragraph 22 of Plaintiff's

Complaint.

                                          23.

      Defendant denies the allegations contained in paragraph 23 of Plaintiff's

Complaint.

                                          24.

      Defendant denies the allegations contained in paragraph 24 of Plaintiff's

Complaint.

                                          25.

      Defendant denies the allegations contained in paragraph 25 of Plaintiff's

Complaint.

                                          26.

      Defendant denies the allegations contained in paragraph 26 of Plaintiff's

Complaint, including subparagraphs 1), 2), 3), 4), 5), 6), 7), 8), 9), 10), 11), and 12)

thereof.

                                          27.

      Defendant denies the allegations contained in paragraph 27 of Plaintiff's

Complaint.




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                                         28.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.



                                         29.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs a., b.,

c., d. and e., thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                       McLAIN & MERRITT, P.C.



                                       /s/ Nicholas E. Deeb
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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT has this day been filed and served upon opposing counsel via

Peachcourt E-file.

      This the 29th day of November, 2021.

                                    McLAIN & MERRITT, P.C.


                                    /s/ Nicholas E. Deeb
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                                    Georgia Bar No. 117025
                                    Attorneys for Defendant
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